      Case 12-30287             Doc 85          Filed 10/16/17 Entered 10/16/17 12:43:03             Desc Notice of
                                               Case Closed w/o Dsc Page 1 of 1
                                             UNITED STATES BANKRUPTCY COURT
                                                Western District of North Carolina
                                                       Charlotte Division

                                                       Case No. 12−30287
                                                           Chapter 13

In Re: Debtor(s) (name(s) used in the last 8 years, including married, maiden, trade, and address):
      Randy Scott Chitwood                                                 Constance Efird Chitwood
      6420 Long Meadow Lane                                                6420 Long Meadow Lane
      Charlotte, NC 28210                                                  Charlotte, NC 28210
      Social Security No.: xxx−xx−8055                                     Social Security No.: xxx−xx−3619




                  NOTICE OF CASE CLOSED WITHOUT DISCHARGE

Notice is hereby given that the case has been closed without discharge as to the above−referenced debtors due to
failure to comply with 11 U.S.C. § 1328 or Bankruptcy Rule 1007(c) regarding financial management course, or
Local Rule 4004−1 Discharge of Chapter 13 Debtor in Cases Filed on or after October 17, 2005.

If the above−referenced debtors subsequently file a Motion to Reopen the Case to allow for the filing of the required
documentation to allow for further consideration of the discharge, the debtor(s) must pay the full filing fee due for
filing such a motion.


Dated: October 16, 2017                                                                Steven T. Salata
                                                                                       Clerk of Court


Electronically filed and signed (10/16/17)
